Case 2:22-cv-01635-TL   Document 48-5   Filed 04/10/23   Page 1 of 4




            EXHIBIT 4
                          Case 2:22-cv-01635-TL                                        Document 48-5                              Filed 04/10/23                    Page 2 of 4
            Logos.com   | Bible   | Blog | Forums      | Sermons     | Wiki                                                                                                      Sign in | Join |Help




           Ludwig Ott's Fundamentals of Catholic Dogma is Back!
           Home > Catholic Products > Ludwig Ott's Fundamentals of Catholic Dogma is Back!



                   This post has 19 Replies | 1 Follower                                                                                                                    Page 1 of 1 (20 items)

                                       SineNomine | Forum Activity | Posted: Wed, Apr 24 2019 3:36 PM                                                                           Reply


                                   https://www.logos.com/product/13225/fundamentals-of-catholic-dogma now available for $12.49 USD.

                                    “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara
                Posts 6302

                                       Craig St. Clair (Faithlife) | Forum Activity | Replied: Wed, Apr 24 2019 4:42 PM                                                         Reply

                                   Sorry to be the bearer of bad news, but this was inadvertently turned to live as a part of another Logos project.

                                   Verbum still doesn't have the rights to produce this, but we are going to revisit the rights situation with both the German publisher (Herder) and a newer
                                   U.S. publisher (Baronius) to see if we can get this licensed.
                 Posts 173

                                    Craig St. Clair | Verbum Product Manager |



                                       SineNomine | Forum Activity | Replied: Wed, Apr 24 2019 5:38 PM                                                                          Reply


                                               Craig St. Clair (Faithlife):
                                             Sorry to be the bearer of bad news, but this was inadvertently turned to live as a part of another Logos project.

                Posts 6302         Rats.

                                               Craig St. Clair (Faithlife):
                                             Verbum still doesn't have the rights to produce this, but we are going to revisit the rights situation with both the German publisher
                                             (Herder) and a newer U.S. publisher (Baronius) to see if we can get this licensed.

                                   Thank you.

                                    “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara



                                       Craig St. Clair (Faithlife) | Forum Activity | Replied: Thu, Apr 25 2019 9:16 AM                                                         Reply

                                   Upon further review and discussion on the product team, this text can be made available for sale.

                                   Whenever there is a doubt about the rights of a given title, we will always pull it from Verbum.com until we can get clarity. I'm just happy to report that we
                                   got clarity on this title MUCH more quickly than we usually do.
                 Posts 173
                                   I too will be downloading this title today....

                                    Craig St. Clair | Verbum Product Manager |



                                       SineNomine | Forum Activity | Replied: Thu, Apr 25 2019 11:05 AM                                                                         Reply


                                               Craig St. Clair (Faithlife):
                                             Upon further review and discussion on the product team, this text can be made available for sale.

                Posts 6302         Yay!

                                               Craig St. Clair (Faithlife):
                                             Whenever there is a doubt about the rights of a given title, we will always pull it from Verbum.com until we can get clarity. I'm just
                                             happy to report that we got clarity on this title MUCH more quickly than we usually do.

                                   Very sensible--with excellent results in this case.

                                    “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara



                                       Stephen Terlizzi | Forum Activity | Replied: Sun, Apr 28 2019 9:09 PM                                                                    Reply




                                   Yes! Thank you! I have wanted this in Verbum for years!
                 Posts 202


                                       SineNomine | Forum Activity | Replied: Wed, Jun 26 2019 7:41 AM                                                                          Reply

                                   Why is Fundamentals of Catholic Dogma gone again?

                                    “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara
                Posts 6302


Source: https://community.logos.com/forums/t/180933.aspx                                                                                                                              Created 2022-10-24 at 19:20
                       Case 2:22-cv-01635-TL                                      Document 48-5                              Filed 04/10/23                    Page 3 of 4
                                 Craig St. Clair (Faithlife) | Forum Activity | Replied: Wed, Jun 26 2019 9:07 AM                                                         Reply


                              We learned more recently--and definitively--that the book has a new copyright holder. We are attempting to work with them to license the book.

                              In the meantime, we had to take the book down (again).
                 Posts 173    I'll update this thread with any progress on getting the book back into Verbum.

                               Craig St. Clair | Verbum Product Manager |



                                 SineNomine | Forum Activity | Replied: Thu, Jun 27 2019 6:27 AM                                                                          Reply


                              Rats. I was going to use my new-Logos-website promo code on this (and maybe other stuff too). Oh well. I hope you get it licensed soon!

                               “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara
                Posts 6302

                                 SineNomine | Forum Activity | Replied: Wed, Jul 3 2019 4:05 PM                                                                           Reply


                              Is there any chance of it coming back before the 30% off code goes away?

                               “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara
                Posts 6302


                                 Craig St. Clair (Faithlife) | Forum Activity | Replied: Fri, Jul 5 2019 10:25 AM                                                         Reply


                              Unfortunately, I have no timeline right now as to when the book may be back in the software.

                               Craig St. Clair | Verbum Product Manager |
                 Posts 173




                                 SineNomine | Forum Activity | Replied: Fri, Jul 5 2019 12:21 PM                                                                          Reply


                              Oh well. I know you do your best and can only do what you can do.

                               “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara
                Posts 6302


                                 Future Prodigy | Forum Activity | Replied: Sun, Jan 12 2020 8:32 AM                                                                      Reply


                              Any update?



                 Posts 35

                                 David Wanat | Forum Activity | Replied: Sun, Jan 12 2020 12:05 PM                                                                        Reply

                              Glad I grabbed mine when I did.

                               WIN 11 i7 9750H, RTX 2060, 16GB RAM, 1TB SSD | iPad Air 3
                Posts 1549     Verbum 10 Gold



                                 Craig St. Clair (Faithlife) | Forum Activity | Replied: Mon, Jan 13 2020 8:06 AM                                                         Reply


                              I'll have an update soon. Stay tuned....



                 Posts 35




                                 SineNomine | Forum Activity | Replied: Wed, Jan 15 2020 12:42 PM                                                                         Reply


                                            Craig St. Clair (Faithlife):
                                       I'll have an update soon. Stay tuned....

                Posts 6302

                               “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara



                                 LW | Forum Activity | Replied: Wed, Jan 15 2020 11:15 PM                                                                                 Reply


                              Although it's been years since I got to look at this book, I remember being extremely impressed with it. I hope FaithLife brings it back.

                              I would like to suggest, and get your thoughts on this idea, that an important companion book to this one would be Denzinger's Enchiridion
                 Posts 55     Symbolorum. This book is compressed; the Enchiridion is in a way an uncompressed version, though while this book is arranged by topic, the
                              Enchiridion is arranged in historical order. Both are very important and complementary - perhaps analogous to how a really good intro to Greek
                              Grammar nevertheless would well be supplemented by something like Smyth's Greek Grammar or the new Cambridge reference grammar.

                              I would therefore urge those who are rightly interested in Ott's book also to vote for the Enchiridion Symbolorum at
                              https://suggestbooks.uservoice.com/forums/308269-book-suggestions/suggestions/10852476--denzinger-enchiridion-symbolorum-a-compendium-o.




Source: https://community.logos.com/forums/t/180933.aspx                                                                                                                     Created 2022-10-24 at 19:20
                        Case 2:22-cv-01635-TL                                        Document 48-5                              Filed 04/10/23                    Page 4 of 4
                                    David Wanat | Forum Activity | Replied: Thu, Jan 16 2020 8:52 AM                                                                        Reply


                                 I added my 3 votes.

                                  WIN 11 i7 9750H, RTX 2060, 16GB RAM, 1TB SSD | iPad Air 3
                Posts 1549        Verbum 10 Gold



                                    LW | Forum Activity | Replied: Sun, Jan 19 2020 4:44 PM                                                                                 Reply


                                 Right on, thanks.



                 Posts 55

                                    SineNomine | Forum Activity | Replied: Mon, Jan 20 2020 12:46 PM                                                                        Reply


                                                LW:
                                             I would like to suggest, and get your thoughts on this idea, that an important companion book to this one would be Denzinger's
                                             Enchiridion Symbolorum.
                Posts 6302
                                 Until then, see https://verbum.com/product/13253/the-sources-of-catholic-dogma

                                  “The trouble is that everyone talks about reforming others and no one thinks about reforming himself.” St. Peter of Alcántara



              Page 1 of 1 (20 items) | RSS                                                                                                                           Previous Topic | Next Topic




                                                                                     Copyright Faithlife / Logos Bible Software.




Source: https://community.logos.com/forums/t/180933.aspx                                                                                                                         Created 2022-10-24 at 19:20
